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 8                             UNITED STATES BANKRUPTCY COURT

 9                              CENTRAL DISTRICT OF CALIFORNIA

10                                        LOS ANGELES DIVISION

11
     In re                                               Case No. 2:23-bk-12359-VZ
12
   BEVERLY COMMUNITY HOSPITAL                            Chapter 11
13 ASSOCIATION, dba BEVERLY HOSPITAL,                    Jointly administered with:
   a nonprofit public benefit corporation1,
14                                                       Case No. 2:23-bk-12360-VZ
               Debtor.
15                                                       Adv. No. 2:25-ap-01097-VZ
   ☒ Affects all Debtors
16
   ☐ Affects Beverly Community Hospital                  ORDER APPROVING STIPULATION TO
17 Association                                           CONTINUE COMPLAINT RESPONSE
                                                         DEADLINE
18 ☐ Affects Montebello Community Health
   Services, Inc.                                         Status Conference
19
                          Debtor.                         Date:         July 24, 2025
20                                                        Time:         11:00 a.m.
   HOWARD M. EHRENBERG, solely in his                     Place:        Courtroom 1368
21 capacity as chapter 11 trustee,                                      255 East Temple Street
                                                                        Los Angeles, CA 90012
22                          Plaintiffs,
23           vs.
24 BIOMERIEUX, INC.,

25           Defendant.
26
     1
27   The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
   identification number, are: Beverly Community Hospital Association d/b/a Beverly Hospital (6005), and
28 Montebello Community Health Services, Inc. (3550).
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 1         The Court, having reviewed and considered the Stipulation to Extend Time to Respond to

 2 Complaint (“Stipulation”) [AP Docket no. 6, entered into by and between, Plaintiff Howard M.
 3 Ehrenberg, the Chapter 11 trustee (“Plaintiff”) for the bankruptcy estate of the debtor Beverly

 4 Community Hospital Association, on the on hand, and defendant BioMerieux, Inc. (“Defendant”),
 5 on the other hand, through their respective counsel, and having determined that notice is proper,

 6 and for good cause appearing therefore,
 7         IT IS HEREBY ORDERED THAT:

 8         1.      The Stipulation is approved; and

 9         2.      Defendant’s deadline to respond to Plaintiff’s Complaint, as defined in the

10 Stipulation, is hereby extended from May 16, 2025, to and including June 15, 2025.

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24 Date: May 19, 2025

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